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                                   IN	  THE	  UNITED	  STATES	  BANKRUPTCY	  COURT	  
                                          FOR	  THE	  DISTRICT	  OF	  PUERTO	  RICO	  
    	  
    	  
    IN	  RE:	                                                 CASE	  NO.	  12-­‐00313	  
    DAVID	  VARGAS	  GUIDO	                                  CHAPTER	  13	  
    DEBTOR	  (S)	  

                 MOTION FOR ENTRY OF ORDER TO DISALLOW POC#9(CRIM)

        TO THE HONORABLE COURT:

    NOW COMES, Debtors, through the undersigned attorney, and
    very respectfully states and prays:

        1. In the above captioned case debtor filed an objection to

              POC#9 (CRIM), on 07/22/2012.DOCKET #47.

        2. More than thirty (30) days have elapsed and creditor

              CRIM has not rebutted the objection.

        3.DEBTOR prays for the disallowance of POC#9.



        Wherefore debtor prays the Bankruptcy Court to disallow

        POC #9(CRIM), and for such other and further relief as

        may be just and proper.


                  RESPECTFULLY SUBMITTED.



                  CERTIFICATE OF SERVICE: I hereby certify that on

        this same date the foregoing motion was filed with the

        Clerk of the Court using the CM/ECF system, which will

        send         notification                of       such          filing              to   all   CM/ECF
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      participants,     including                 the         U.S.           Trustee,   Standing

      Chapter 13 Trustee, ALEJANDRO OLIVERAS RIVERA, and also

      mailed the same to any party in the attached list

      having been recognized in the Court Docket as non-CM/ECF

      participants.

            In San Juan, Puerto Rico, this Monday, September 03,

            2012.
                                                    	  
                             /S/MIRIAM	  S.	  LOZADA	  RAMÍREZ	  
                                   ATTORNEY	  FOR	  DEBTOR	  
                        	  296	  RAMON	  E.	  BETANCES	  	  	  SUITE	  5	  
                              Mayagüez,	  Puerto	  Rico	  00680	  
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